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 4                                                                   The Honorable Benjamin H. Settle
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 6                                UNITED STATES DISTRICT COURT
                                 WESTERN DISTRICT OF WASHINGTON
 7                                         AT TACOMA
 8
     UNITED STATES OF AMERICA,
                                                            No. CR08-5125 BHS
 9
                    Plaintiff,
10
            v.                                              ORDER GRANTING MOTION FOR
11
                                                            LEAVE OF COURT TO WITHDRAW AS
     HERMINIO BARRAGAN MENDOZA, et al.,                     CO-COUNSEL FOR DEFENDANT
12                                                          ADRIAN PEREZ GARCIA
                    Defendants.
13

14          THIS MATTER comes before the Court upon motion of Mr. Perez Garcia’s co-counsel

15   of record in this case, Kristine Costello, to grant leave to withdraw as counsel of record. Having
16   considered the entirety of the records and file herein, the Court rules as follows:
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            GOOD CAUSE HAVING BEEN SHOWN, the motion is granted. The clerk is hereby
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     directed to remove Ms. Costello as counsel of record in this case. Mr. Black shall remain as
19
     counsel of record.
20




                                                           A
            DATED this 7th day of July, 2008.
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25                                                         BENJAMIN H. SETTLE
                                                           United States District Judge

     ORDER GRANTING MOTION FOR LEAVE OF                                          LAW OFFICES OF
     COURT TO WITHDRAW AS CO-COUNSEL FOR                                    COSTELLO & BLACK, P.S.
     DEFENDANT ADRIAN PEREZ GARCIA (No. CR08-                            1000 SECOND AVENUE, SUITE 1780
                                                                               SEATTLE, WA 98104
     5125 BHS) - 1                                                               (206) 749-5020
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 1   Presented by:
 2   COSTELLO & BLACK, P.S.
 3
     s/ Kristine A. Costello
 4   Attorney for Adrian Perez-Garcia
     Costello & Black, P.S.
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     ORDER GRANTING MOTION FOR LEAVE OF                              LAW OFFICES OF
     COURT TO WITHDRAW AS CO-COUNSEL FOR                        COSTELLO & BLACK, P.S.
     DEFENDANT ADRIAN PEREZ GARCIA (No. CR08-                1000 SECOND AVENUE, SUITE 1780
                                                                   SEATTLE, WA 98104
     5125 BHS) - 2                                                   (206) 749-5020
